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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11    ABRUM SARSFIELD,                       ) No. 2:24-cv-02795-JDE
                                             )
12                                           )
                         Plaintiff,          ) ORDER AWARDING ATTORNEY
13                                           )
                    v.                       ) FEES UNDER THE EQUAL
                                             ) ACCESS TO JUSTICE ACT,
14    CAROLYN COLVIN, Acting                 ) 28 U.S.C. § 2412(d)
      Commissioner of Social Security,       )
15                                           )
                                             )
16                       Defendant.          )
                                             )
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19          Based upon the parties’ Stipulation (Dkt. 18), IT IS ORDERED that
20    Plaintiff shall be awarded attorney’s fees of $3,400.00 under 28 U.S.C.
21    § 2412(d), subject to the terms of the above-referenced Stipulation.
22
23    Dated: December 17, 2024
24                                                ______________________________
25                                                JOHN D. EARLY
                                                  United States Magistrate Judge
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